      Case 1-23-43643-jmm        Doc 113      Filed 03/15/24     Entered 03/15/24 15:02:12




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------- x
 In re:                                                  : Case No.: 23-43643 (JMM)
                                                         :
 Showfields Inc., et. Al.,                               : Chapter 7
                                                         :
                               Debtor.                   : (Jointly Administered)
 ------------------------------------------------------- x

                        NOTICE OF APPOINTMENT OF TRUSTEE

To:     Yann Geron
        Geron Legal Advisors
        370 Lexington Avenue, Suite 1101
        New York, NY 10017

        The United States Trustee hereby appoints you as interim trustee, under 11 U.S.C. §

701(a), in the above captioned case, which was filed as a chapter 11 case on October 6, 2023,

and converted to a case under chapter 7 on March 15, 2024.

        You are covered by the Chapter 7 Blanket Bond, issued by the Liberty Mutual Insurance

Company, which is on file with the Office of the United States Trustee for the Eastern District of

New York, Brooklyn, New York. See 11 U.S.C. 322(a) and Fed. R. Bankr. P. 2010. In addition,

because your blanket acceptance of appointment is on file, you are required to notify the

undersigned in writing within seven days after receipt of this notice only if you reject this

appointment. See Fed. R. Bankr. P. 2008 and 2010(a).

 Dated: New York, New York
        March 15, 2024                         WILLIAM K. HARRINGTON
                                               UNITED STATES TRUSTEE, REGION 2

                                               By: /s/ Marylou Martin __
                                                   Marylou Martin
                                                   Assistant United States Trustee
                                                   One Bowling Green, Room 510
                                                   New York, NY 10004-1408
                                                   Phone: 212.206.2580
                                                   Email: Marylou.Martin@usdoj.gov
